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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA
                                                       Crim. No. 17-232 (EGS)
                      v.

MICHAEL T. FLYNN,

                                  Defendant




       MOTION OF AMICUS CURIAE TO ESTABLISH A BRIEFING SCHEDULE

        On May 13, 2020, the Court issued an order appointing me as amicus curiae “to present

arguments in opposition to the government’s Motion to Dismiss, ECF No. 198 . . . .” ECF No.

205. The Court further directed me to “address whether the Court should issue an Order to Show

Cause why Mr. Flynn should not be held in criminal contempt for perjury pursuant to 18 U.S.C.

§ 401, Federal Rule of Criminal Procedure 42, the Court’s inherent authority, and any other

applicable statutes, rules, or controlling law.” Id.

        Because the Court’s order and the government’s motion raise important and complex

issues, I respectfully request permission to submit a brief on or before June 10, 2020, addressing

three issues: (1) the legal framework applicable to the Court’s authority with respect to a motion

to dismiss brought under Rule 48 of the Federal Rules of Criminal Procedure (including both the

constitutional validity of the Court’s authority to deny such a motion and the standard to be

applied in deciding one); (2) any additional factual development I may need before finalizing my

argument in opposition to the government’s motion in this case; and (3) whether, based on the

record before the Court, it should order the defendant to show cause why he should not be held

in criminal contempt for perjury. I respectfully suggest that the Court set a schedule for
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responses (by the government, the defendant, and any other amici) to my filing, a reply by me to

those responses, and oral argument. Upon the resolution of the issues addressed by my brief or

raised in response to it, a schedule for any remaining proceedings could be set.

       Of course, I will proceed in whatever manner and on whatever timeline the Court directs,

and I understand the need for an expeditious resolution of the issues identified in the Court’s

May 13 order.



                                                     _______________________
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                                                     Court-appointed Amicus Curiae
